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 7

 8                              UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10

11    JANE DOE, an individual,                    Case No. 5:20-cv-01135-JGB-KKx
12                      Plaintiff,                COUNTY OF SAN BERNARDINO’S
                                                  ANSWER TO PLAINTIFF’S
13                         v.                     COMPLAINT; DEMAND FOR JURY
                                                  TRIAL
14    COUNTY OF SAN BERNARDINO,
15    JULIO GARCIA, PROBATION
      OFFICER RUTLEDGE, YBON                      Assigned to:
16    CORTA, and DOES 1 through 10,               Honorable Jesus Bernal
17    inclusive,                                  United States District Judge
                    Defendants.                   Referred to:
18
                                                  Honorable Kenly Kiya Kato
19                                                United States Magistrate Judge
20

21          Defendant COUNTY OF SAN BERNARDINO (hereinafter referred to as
22    “County”), and no others, now answers Plaintiff JANE DOE’S (hereinafter referred to as
23    “Plaintiff”) Complaint on file herein and denies any and all such allegations and further
24    admits or denies the specific allegations of the Complaint and states all applicable
25    affirmative defenses as follows:
26                                       INTRODUCTION
27          1.    The County admits that Plaintiff seeks compensatory, statutory and punitive
28
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           COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1    damages against named Defendant Julio Garcia, unknown DOES, and the County (except
 2    punitive) for alleged violations of the United States Constitution and California laws
 3    related to torture, rape, and excessive force upon Plaintiff on or about May 25, 2019 and
 4    June 2019 after she reported improper advances, but upon information and belief, deny
 5    any wrongdoing.
 6                                JURISDICTION AND VENUE
 7          2.     The County admits that the Court has original jurisdiction pursuant to 28
 8    U.S.C. §§ 1331 and 1343(a)(3)-(4) because Plaintiff’s claims arise under the law of the
 9    United States, including 42 U.S.C. § 1983 and the Fourth and Fourteenth Amendments of
10    the United States Constitution. The County also admits that this Court has supplemental
11    jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a).
12          3.     The County admits that venue is proper in this Court because all incidents
13    giving rise to this action occurred in the County of San Bernardino, California.
14          4.     The County denies that Plaintiff submitted a Claim for Damages to the
15    County of San Bernardino on or about November 4, 2019. The County admits that
16    Plaintiff submitted a Claim for Damages to the County of San Bernardino on or about
17    October 24, 2019.
18          5.     The County admits that it rejected Plaintiff’s Claim for Damages on
19    December 2, 2019.
20                               PARTIES AND JURISDICTION
21          6.     Upon information and belief, the County admits that at all relevant times,
22    Plaintiff was a resident of the County of San Bernardino and the State of California.
23          7.     The County is without sufficient knowledge or information to admit or deny
24    the allegations in said paragraph and therefore, denies the same.
25          8.     The County admits that it was, and now is, a municipal entity or political
26    subdivision organized and existing under the laws of the State of California.
27          9.     The County is without sufficient knowledge or information to admit or deny
28    the allegations in said paragraph and therefore, denies the same.
                                           2
           COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1          10.    The County admits that Defendant YBON CORTA (“Corta”) is and was a
 2    Probation Officer employed by the County of San Bernardino. The County further admits
 3    that Plaintiff sues him in his individual and official capacities.
 4          11.    The County admits that Defendant RUTLEDGE (“Rutledge”) is and was a
 5    Probation Officer employed by the County of San Bernardino. The County further admits
 6    that Plaintiff sues him in his individual capacity.
 7          12.     The County is without sufficient knowledge or information to admit or deny
 8    the allegations in said paragraph and therefore, denies the same.
 9          13.    The County is without sufficient knowledge or information to admit or deny
10    the allegations in said paragraph and therefore, denies the same.
11          14.    The County is without sufficient knowledge or information to admit or deny
12    the allegations in said paragraph and therefore, denies the same.
13          15.    The County is without sufficient knowledge or information to admit or deny
14    the allegations in said paragraph and therefore, denies the same.
15          16.    The County is without sufficient knowledge or information to admit or deny
16    the allegations in said paragraph and therefore, denies the same.
17          17.    Upon information and belief, the County admits that the Complaint concerns
18    various incidents that occurred while Plaintiff was on probation in San Bernardino County
19    in 2019. The County is without sufficient knowledge or information to admit or deny
20    whether Plaintiff was in compliance with her probation at all times and therefore, denies
21    the same.
22          18.    The County is without sufficient knowledge or information to admit or deny
23    the allegations in said paragraph and therefore, denies the same.
24          19.    The County is without sufficient knowledge or information to admit or deny
25    the allegations in said paragraph and therefore, denies the same.
26          20.    The County is without sufficient knowledge or information to admit or deny
27    the allegations in said paragraph and therefore, denies the same.
28    ///
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            COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1                                             FACTS
 2          21.    The County admits that in 2019, Plaintiff was a probationer. The County is
 3    without sufficient knowledge or information to admit or deny the remaining allegations in
 4    said paragraph and therefore, denies the same.
 5          22.    Upon information and belief, the County admits the allegations contained in
 6    this paragraph.
 7          23.    The County is without sufficient knowledge or information to admit or deny
 8    the allegations in said paragraph and therefore, denies the same.
 9          24.    The County is without sufficient knowledge or information to admit or deny
10    the allegations in said paragraph and therefore, denies the same.
11          25.    The County is without sufficient knowledge or information to admit or deny
12    the allegations in said paragraph and therefore, denies the same.
13          26.    The County is without sufficient knowledge or information to admit or deny
14    the allegations in said paragraph and therefore, denies the same.
15          27.    The County is without sufficient knowledge or information to admit or deny
16    the allegations in said paragraph and therefore, denies the same.
17          28.    The County is without sufficient knowledge or information to admit or deny
18    the allegations in said paragraph and therefore, denies the same.
19          29.    The County is without sufficient knowledge or information to admit or deny
20    the allegations in said paragraph and therefore, denies the same.
21          30.    The County is without sufficient knowledge or information to admit or deny
22    the allegations in said paragraph and therefore, denies the same.
23          31.    The County is without sufficient knowledge or information to admit or deny
24    the allegations in said paragraph and therefore, denies the same.
25          32.    The County is without sufficient knowledge or information to admit or deny
26    the allegations in said paragraph and therefore, denies the same.
27          33.    The County is without sufficient knowledge or information to admit or deny
28    the allegations in said paragraph and therefore, denies the same.
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 1          34.    The County is without sufficient knowledge or information to admit or deny
 2    the allegations in said paragraph and therefore, denies the same.
 3          35.    The County is without sufficient knowledge or information to admit or deny
 4    the allegations in said paragraph and therefore, denies the same.
 5          36.    The County is without sufficient knowledge or information to admit or deny
 6    the allegations in said paragraph and therefore, denies the same.
 7          37.    The County admits that Plaintiff appeared at the SBCSD Victorville Station
 8    and reported inappropriate text messages from Defendant Garcia. The County is without
 9    sufficient knowledge or information to admit or deny the remaining allegations in said
10    paragraph and therefore, denies the same.
11          38.    The County admits that Plaintiff showed investigating deputies certain text
12    messages and told them they could not download the same. The County is without
13    sufficient knowledge or information to admit or deny the remaining allegations in said
14    paragraph and therefore, denies the same.
15          39.    The County admits that Defendant Rutledge made a home visit at Plaintiff’s
16    residence. The County is without sufficient knowledge or information to admit or deny
17    the remaining allegations in said paragraph and therefore, denies the same.
18          40.    The County admits Plaintiff met with Defendant Corta and he asked
19    questions about the text messages from Defendant Garcia. It is further admitted that
20    Plaintiff allowed Defendant Corta to photograph the text messages she had on her phone.
21    The County is without sufficient knowledge or information to admit or deny the remaining
22    allegations in said paragraph and therefore, denies the same.
23          41.    The County is without sufficient knowledge or information to admit or deny
24    the allegations in said paragraph and therefore, denies the same.
25          42.    The County is without sufficient knowledge or information to admit or deny
26    the allegations in said paragraph and therefore, denies the same.
27          43.    The County is without sufficient knowledge or information to admit or deny
28    the allegations in said paragraph and therefore, denies the same.
                                           5
           COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1          44.    The County is without sufficient knowledge or information to admit or deny
 2    the allegations in said paragraph and therefore, denies the same.
 3          45.    The County is without sufficient knowledge or information to admit or deny
 4    the allegations in said paragraph and therefore, denies the same.
 5          46.    The County is without sufficient knowledge or information to admit or deny
 6    the allegations in said paragraph and therefore, denies the same.
 7          47.    The County is without sufficient knowledge or information to admit or deny
 8    the allegations in said paragraph and therefore, denies the same.
 9          48.    The County is without sufficient knowledge or information to admit or deny
10    the allegations in said paragraph and therefore, denies the same.
11          49.    The County is without sufficient knowledge or information to admit or deny
12    the allegations in said paragraph and therefore, denies the same.
13          50.    The County is without sufficient knowledge or information to admit or deny
14    the allegations in said paragraph and therefore, denies the same.
15          51.    The County is without sufficient knowledge or information to admit or deny
16    the allegations in said paragraph and therefore, denies the same.
17          52.    The County is without sufficient knowledge or information to admit or deny
18    the allegations in said paragraph and therefore, denies the same.
19          53.    The County is without sufficient knowledge or information to admit or deny
20    the allegations in said paragraph and therefore, denies the same.
21          54.    The County is without sufficient knowledge or information to admit or deny
22    the allegations in said paragraph and therefore, denies the same.
23          55.    The County is without sufficient knowledge or information to admit or deny
24    the allegations in said paragraph and therefore, denies the same.
25    ///
26    ///
27    ///
28    ///
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            COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1                                  FIRST CAUSE OF ACTION
 2     (By Plaintiff JANE DOE Against GARCIA and DOES 3-4 Based on Unreasonable
 3                                        Search and Seizure)
 4                                         [42 U.S.C. § 1983]
 5          56.    The County incorporates and realleges its specific answers to all preceding
 6    paragraphs as if fully set forth within.
 7          57.    The County is without sufficient knowledge or information to admit or deny
 8    the allegations in said paragraph and therefore, denies the same.
 9          58.    The County admits that at one time, Defendant Garcia was issued an official
10    badge and identification as part of his employment with the County, but denies the
11    remaining allegations contained in this paragraph.
12          59.    The County denies the allegations contained in this paragraph.
13          60.    The County denies the allegations contained in this paragraph.
14          61.    The County is without sufficient knowledge or information to admit or deny
15    the allegations in said paragraph and therefore, denies the same.
16          62.    The County is without sufficient knowledge or information to admit or deny
17    the allegations in said paragraph and therefore, denies the same.
18          63.    The County is without sufficient knowledge or information to admit or deny
19    the allegations in said paragraph and therefore, denies the same.
20          64.    The County is without sufficient knowledge or information to admit or deny
21    the allegations in said paragraph and therefore, denies the same.
22          65.    The County is without sufficient knowledge or information to admit or deny
23    the allegations in said paragraph and therefore, denies the same.
24          66.    The County is without sufficient knowledge or information to admit or deny
25    the allegations in said paragraph and therefore, denies the same.
26          67.    The County is without sufficient knowledge or information to admit or deny
27    the allegations in said paragraph and therefore, denies the same.
28          68.    The County is without sufficient knowledge or information to admit or deny
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            COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1    the allegations in said paragraph and therefore, denies the same.
 2          69.    The County is without sufficient knowledge or information to admit or deny
 3    the allegations in said paragraph and therefore, denies the same.
 4          70.    The County is without sufficient knowledge or information to admit or deny
 5    the allegations in said paragraph and therefore, denies the same.
 6          71.    The County is without sufficient knowledge or information to admit or deny
 7    the allegations in said paragraph and therefore, denies the same.
 8          72.    The County is without sufficient knowledge or information to admit or deny
 9    the allegations in said paragraph and therefore, denies the same.
10                                 SECOND CAUSE OF ACTION
11         (By PLAINTIFF against DEFENDANT GARCIA and DOES 3-4 Based on
12       Unreasonable Intrusion of Privacy and Behavior that Shocks the Conscience)
13                                         [42 U.S.C. § 1983]
14          73.    The County incorporates and realleges its specific answers to all preceding
15    paragraphs as if fully set forth within.
16          74.    The County is without sufficient knowledge or information to admit or deny
17    the allegations in said paragraph and therefore, denies the same.
18          75.    The County admits that at one time, Defendant Garcia was issued an official
19    badge and identification as part of his employment with the County, but denies the
20    remaining allegations contained in this paragraph.
21          76.    The County denies the allegations contained in this paragraph.
22          77.    The County denies the allegations contained in this paragraph.
23          78.    The County is without sufficient knowledge or information to admit or deny
24    the allegations in said paragraph and therefore, denies the same.
25          79.    The County is without sufficient knowledge or information to admit or deny
26    the allegations in said paragraph and therefore, denies the same.
27          80.    The County is without sufficient knowledge or information to admit or deny
28    the allegations in said paragraph and therefore, denies the same.
                                            8
            COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1          81.    The County is without sufficient knowledge or information to admit or deny
 2    the allegations in said paragraph and therefore, denies the same.
 3          82.    The County is without sufficient knowledge or information to admit or deny
 4    the allegations in said paragraph and therefore, denies the same.
 5          83.    The County is without sufficient knowledge or information to admit or deny
 6    the allegations in said paragraph and therefore, denies the same.
 7          84.    The County denies the allegations contained in this paragraph.
 8          85.    The County is without sufficient knowledge or information to admit or deny
 9    the allegations in said paragraph and therefore, denies the same.
10          86.    The County is without sufficient knowledge or information to admit or deny
11    the allegations in said paragraph and therefore, denies the same.
12          87.    The County is without sufficient knowledge or information to admit or deny
13    the allegations in said paragraph and therefore, denies the same.
14          88.    The County is without sufficient knowledge or information to admit or deny
15    the allegations in said paragraph and therefore, denies the same.
16          89.    The County is without sufficient knowledge or information to admit or deny
17    the allegations in said paragraph and therefore, denies the same.
18                                  THIRD CAUSE OF ACTION
19         (By PLAINTIFF Against COUNTY and DOES 5-10 for Monell/Failure to
20                                               Supervise)
21                                         [42 U.S.C. § 1983]
22          90.    The County incorporates and realleges its specific answers to all preceding
23    paragraphs as if fully set forth within.
24          91.    The County is without sufficient knowledge or information to admit or deny
25    the allegations in said paragraph and therefore, denies the same.
26          92.    The County is without sufficient knowledge or information to admit or deny
27    the allegations in said paragraph and therefore, denies the same.
28          93.    The County is without sufficient knowledge or information to admit or deny
                                            9
            COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1     the allegations in said paragraph and therefore, denies the same.
 2                                  FOURTH CAUSE OF ACTION
 3        (By PLAINTIFF Against Defendant YBON CORTA for Failure to Supervise)
 4                                          [42 U.S.C. § 1983]
 5           94.    The County incorporates and realleges its specific answers to all preceding
 6     paragraphs as if fully set forth within.
 7           95.    The County is without sufficient knowledge or information to admit or deny
 8     the allegations in said paragraph and therefore, denies the same.
 9           96.    The County is without sufficient knowledge or information to admit or deny
10     the allegations in said paragraph and therefore, denies the same.
11                                   FIFTH CAUSE OF ACTION
12       (By PLAINTIFF Against COUNTY and DOES 5-10 for State Created Danger)
13                                          [42 U.S.C. § 1983]
14           97.    The County incorporates and realleges its specific answers to all preceding
15     paragraphs as if fully set forth within.
16           98.    The County admits that Plaintiff reported information about certain text
17     messages to the San Bernardino County Sheriff’s Department, but denies it deprived
18     Plaintiff of her rights under the Fourteenth Amendment to the Constitution and the
19     remaining allegations contained in this paragraph.
20           99.    The County admits that Plaintiff showed Detective Kuntzman certain text
21     messages, but deny as to the remaining allegations.
22           100. The County is without sufficient knowledge or information to admit or deny
23     the allegations in said paragraph and therefore, denies the same.
24           101. The County is without sufficient knowledge or information to admit or deny
25     the allegations in said paragraph and therefore, denies the same.
26           102. The County is without sufficient knowledge or information to admit or deny
27     the allegations in said paragraph and therefore, denies the same.
28           103. The County is without sufficient knowledge or information to admit or deny
                                            10
             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1     the allegations in said paragraph and therefore, denies the same.
 2           104. The County is without sufficient knowledge or information to admit or deny
 3     the allegations in said paragraph and therefore, denies the same.
 4           105. The County is without sufficient knowledge or information to admit or deny
 5     the allegations in said paragraph and therefore, denies the same.
 6           106. The County is without sufficient knowledge or information to admit or deny
 7     the allegations in said paragraph and therefore, denies the same.
 8           107. The County is without sufficient knowledge or information to admit or deny
 9     the allegations in said paragraph and therefore, denies the same.
10           108. The allegations contained in this paragraph constitutes conclusions of law to
11     which no response is required.
12           109. The allegations contained in this paragraph constitutes conclusions of law to
13     which no response is required.
14                                   SIXTH CAUSE OF ACTION
15             (By PLAINTIFF Against All Defendants for Ralph Civil Rights Act)
16                                 [Violation of Cal. Civ. Code § 51.7]
17           110. The County incorporates and realleges its specific answers to all preceding
18     paragraphs as if fully set forth within.
19           111. The allegations contained in this paragraph constitutes conclusions of law to
20     which no response is required. The County denies it is vicariously liable for the alleged
21     acts of Defendant Garcia.
22           112. The allegations contained in this paragraph constitutes conclusions of law to
23     which no response is required.
24           113. The County admits the allegations contained in this paragraph.
25           114. The County denies it subjected Plaintiff to violation and/or intimidation by
26     threats of violation, against her person on account of her sex and/or acted to aid, incite
27     and/or conspire with other Defendants to deny Plaintiff her rights, and is without sufficient
28     knowledge or information to admit or deny the remaining allegations in said paragraph
                                            11
             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1     and therefore, denies the same.
 2           115. The County denies violating Plaintiff’s civil rights and is without sufficient
 3     knowledge or information to admit or deny the remaining allegations in said paragraph
 4     and therefore, denies the same.
 5           116. The County is without sufficient knowledge or information to admit or deny
 6     the allegations in said paragraph and therefore, denies the same.
 7           117. The County is without sufficient knowledge or information to admit or deny
 8     the allegations in said paragraph and therefore, denies the same.
 9           118. The County denies the allegations contained in this paragraph.
10           119. The County is without sufficient knowledge or information to admit or deny
11     the allegations in said paragraph and therefore, denies the same.
12           120. The County is without sufficient knowledge or information to admit or deny
13     the allegations in said paragraph and therefore, denies the same.
14                                 SEVENTH CAUSE OF ACTION
15          (By PLAINTIFF Against Defendant GARCIA and DOES 3-4 for Assault)
16           121. The County incorporates and realleges its specific answers to all preceding
17     paragraphs as if fully set forth within.
18           122. The County denies it is vicariously liable for the alleged acts of Defendant
19     Garcia and is without sufficient knowledge or information to admit or deny the remaining
20     allegations in said paragraph and therefore, denies the same.
21           123. The County is without sufficient knowledge or information to admit or deny
22     the allegations in said paragraph and therefore, denies the same.
23           124. The County is without sufficient knowledge or information to admit or deny
24     the allegations in said paragraph and therefore, denies the same.
25           125. The County is without sufficient knowledge or information to admit or deny
26     the allegations in said paragraph and therefore, denies the same.
27           126. The County is without sufficient knowledge or information to admit or deny
28     the allegations in said paragraph and therefore, denies the same.
                                            12
             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1           127. The County is without sufficient knowledge or information to admit or deny
 2     the allegations in said paragraph and therefore, denies the same.
 3           128. The County is without sufficient knowledge or information to admit or deny
 4     the allegations in said paragraph and therefore, denies the same.
 5           129. The County is without sufficient knowledge or information to admit or deny
 6     the allegations in said paragraph and therefore, denies the same.
 7                                  EIGHTH CAUSE OF ACTION
 8          (By PLAINTIFF Against Defendant GARCIA and DOES 3-4 for Battery)
 9                    [Cal. Gov’t Code §§ 815.2(a), 820(a); Cal.Civ. Code § 43]
10           130. The County incorporates and realleges its specific answers to all preceding
11     paragraphs as if fully set forth within.
12           131. The allegations contained in this paragraph constitutes conclusions of law to
13     which no response is required. The County denies it is vicariously liable for the alleged
14     acts of Defendant Garcia.
15           132. The County is without sufficient knowledge or information to admit or deny
16     the allegations in said paragraph and therefore, denies the same.
17           133. The County is without sufficient knowledge or information to admit or deny
18     the allegations in said paragraph and therefore, denies the same.
19           134. The County is without sufficient knowledge or information to admit or deny
20     the allegations in said paragraph and therefore, denies the same.
21           135. The County is without sufficient knowledge or information to admit or deny
22     the allegations in said paragraph and therefore, denies the same.
23           136. The County is without sufficient knowledge or information to admit or deny
24     the allegations in said paragraph and therefore, denies the same.
25                                   NINTH CAUSE OF ACTION
26      (By PLAINTIFF Against Defendant GARCIA and DOES 3-4 for Sexual Battery)
27           137. The County incorporates and realleges its specific answers to all preceding
28     paragraphs as if fully set forth within.
                                            13
             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1           138. The allegations contained in this paragraph constitutes conclusions of law to
 2     which no response is required. The County denies it is vicariously liable for the alleged
 3     acts of Defendant Garcia.
 4           139. The allegations contained in this paragraph constitutes conclusions of law to
 5     which no response is required.
 6           140. The allegations contained in this paragraph constitutes conclusions of law to
 7     which no response is required.
 8           141. The allegations contained in this paragraph constitutes conclusions of law to
 9     which no response is required.
10           142. The County is without sufficient knowledge or information to admit or deny
11     the allegations in said paragraph and therefore, denies the same.
12           143. The County is without sufficient knowledge or information to admit or deny
13     the allegations in said paragraph and therefore, denies the same.
14           144. The County is without sufficient knowledge or information to admit or deny
15     the allegations in said paragraph and therefore, denies the same.
16           145. The County is without sufficient knowledge or information to admit or deny
17     the allegations in said paragraph and therefore, denies the same.
18           146. The County is without sufficient knowledge or information to admit or deny
19     the allegations in said paragraph and therefore, denies the same.
20                                   TENTH CAUSE OF ACTION
21     (By PLAINTIFF Against Defendant GARCIA and DOES 3-4 for Gender Violence)
22           147. The County incorporates and realleges its specific answers to all preceding
23     paragraphs as if fully set forth within.
24           148. The allegations contained in this paragraph constitutes conclusions of law to
25     which no response is required. The County denies it is vicariously liable for the alleged
26     acts of Defendant Garcia.
27           149. The allegations contained in this paragraph constitutes conclusions of law to
28     which no response is required.
                                            14
             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1           150. The County is without sufficient knowledge or information to admit or deny
 2     the allegations in said paragraph and therefore, denies the same.
 3           151. The County is without sufficient knowledge or information to admit or deny
 4     the allegations in said paragraph and therefore, denies the same.
 5           152. The County is without sufficient knowledge or information to admit or deny
 6     the allegations in said paragraph and therefore, denies the same.
 7           153. The County is without sufficient knowledge or information to admit or deny
 8     the allegations in said paragraph and therefore, denies the same.
 9           154. The County is without sufficient knowledge or information to admit or deny
10     the allegations in said paragraph and therefore, denies the same.
11                                 ELEVENTH CAUSE OF ACTION
12                     (By PLAINTIFF Against All Defendants for Bane Act)
13           155. The County incorporates and realleges its specific answers to all preceding
14     paragraphs as if fully set forth within.
15           156. The allegations contained in this paragraph constitutes conclusions of law to
16     which no response is required. The County denies it is vicariously liable for the alleged
17     acts of Defendant Garcia.
18           157. The allegations contained in this paragraph constitutes conclusions of law to
19     which no response is required.
20           158. The allegations contained in this paragraph constitutes conclusions of law to
21     which no response is required.
22           159. The allegations contained in this paragraph constitutes conclusions of law to
23     which no response is required.
24           160. The County is without sufficient knowledge or information to admit or deny
25     the allegations in said paragraph and therefore, denies the same.
26           161. The County is without sufficient knowledge or information to admit or deny
27     the allegations in said paragraph and therefore, denies the same.
28           162. The County is without sufficient knowledge or information to admit or deny
                                            15
             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1     the allegations in said paragraph and therefore, denies the same.
 2           163. The County is without sufficient knowledge or information to admit or deny
 3     the allegations in said paragraph and therefore, denies the same.
 4           164. The County is without sufficient knowledge or information to admit or deny
 5     the allegations in said paragraph and therefore, denies the same.
 6           165. The County is without sufficient knowledge or information to admit or deny
 7     the allegations in said paragraph and therefore, denies the same.
 8           166. The County is without sufficient knowledge or information to admit or deny
 9     the allegations in said paragraph and therefore, denies the same.
10                                 TWELFTH CAUSE OF ACTION
11       (By PLAINTIFF Against GARCIA, RUTLEDGE, and DOES 1-4 for Intentional
12                                  Infliction of Emotional Distress)
13           167. The County incorporates and realleges its specific answers to all preceding
14     paragraphs as if fully set forth within.
15           168. The allegations contained in this paragraph constitutes conclusions of law to
16     which no response is required. The County denies it is vicariously liable for the alleged
17     acts of Defendant Garcia.
18           169. The County is without sufficient knowledge or information to admit or deny
19     the allegations in said paragraph and therefore, denies the same.
20           170. The County is without sufficient knowledge or information to admit or deny
21     the allegations in said paragraph and therefore, denies the same.
22           171. The County is without sufficient knowledge or information to admit or deny
23     the allegations in said paragraph and therefore, denies the same.
24           172. The County is without sufficient knowledge or information to admit or deny
25     the allegations in said paragraph and therefore, denies the same.
26           173. The County is without sufficient knowledge or information to admit or deny
27     the allegations in said paragraph and therefore, denies the same.
28     ///
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             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1                              THIRTEENTH CAUSE OF ACTION
 2              (By PLAINTIFF Against COUNTY and DOES 5-10 for Negligence)
 3           174. The County incorporates and realleges its specific answers to all preceding
 4     paragraphs as if fully set forth within.
 5           175. The County is without sufficient knowledge or information to admit or deny
 6     the allegations in said paragraph and therefore, denies the same.
 7           176. The County is without sufficient knowledge or information to admit or deny
 8     the allegations in said paragraph and therefore, denies the same.
 9           177. The County is without sufficient knowledge or information to admit or deny
10     the allegations in said paragraph and therefore, denies the same.
11           178. The County admits the allegations contained in this paragraph.
12           179. The County denies the allegations contained in this paragraph.
13           180. The County is without sufficient knowledge or information to admit or deny
14     the allegations in said paragraph and therefore, denies the same.
15           181. The County is without sufficient knowledge or information to admit or deny
16     the allegations in said paragraph and therefore, denies the same.
17           182. The County is without sufficient knowledge or information to admit or deny
18     the allegations in said paragraph and therefore, denies the same.
19           183. The County is without sufficient knowledge or information to admit or deny
20     the allegations in said paragraph and therefore, denies the same.
21           184. The County is without sufficient knowledge or information to admit or deny
22     the allegations in said paragraph and therefore, denies the same.
23           185. The County is without sufficient knowledge or information to admit or deny
24     the allegations in said paragraph and therefore, denies the same.
25                                                PRAYER
26           Answering Paragraphs 1-7 in this section, the County denies Plaintiff is entitled to
27     any of the relief requested.
28     ///
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             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1                                    AFFIRMATIVE DEFENSES
 2           The County alleges the following affirmative defenses to Plaintiff’s Complaint. In
 3     asserting these affirmative defenses, the County does not assume the burden to establish
 4     any fact or proposition where that burden is properly imposed on Plaintiff:
 5           1.     The Complaint, and each claim for relief set forth therein, fails to state a claim
 6     and/or claims for relief.
 7           2.     The Complaint fails to state facts sufficient to constitute a cause of action
 8     against the County as the facts alleged on the face of the Complaint disclose that Garcia’s
 9     alleged acts were malicious, outside the scope of his employment, and fails to show any
10     basis for statutory liability against the County for the same.
11           3.    The policies, practices and procedures of the San Bernardino County
12     Probation Department complied, at all relevant times herein, with all applicable state and
13     federal law, as well as the U.S. Constitution, thus barring all claims herein.
14           4.    The state based causes of action in the Complaint are fatally defective to the
15     extent that they attempts to state causes of action and/or facts not fairly reflected in a timely
16     filed government tort claim.
17           5.            At the time of the incident referred to in Plaintiff’s Complaint, the
18     Plaintiff was negligent or at fault and failed to use that degree of care and caution which a
19     reasonably prudent person would have used under the same or similar circumstances; that
20     Plaintiff’s negligence or fault must be compared with the negligence or fault, if any, of the
21     County (which is denied), as well as that of any other persons and parties, and that any
22     award to the Plaintiff must be reduced by the amount that the Plaintiff’s negligence or fault
23     contributed to her injuries and damages.
24           6.     Upon information and belief, at the time and place of the accident alleged in
25     the Plaintiff’s operative Complaint, the Plaintiff knew of the danger and risk incident to
26     her activity, but nevertheless freely and voluntarily exposed herself to all risks of harm
27     and thus assumed all risk of harm incidental thereto.
28           7.     Upon information and belief, Plaintiff is estopped by her conduct to assert
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 1     the allegations in the operative Complaint.
 2           8.     If the County’s conduct is found to have been wrongful, which the County
 3     has denied and continues to deny, then, upon information and belief, Plaintiff’s claim is
 4     barred by the doctrine of unclean hands.
 5           9.     The County acted in good faith and did not directly or indirectly perform any
 6     acts whatsoever which would constitute a violation of any rights possessed by Plaintiff, or
 7     any duty owed to Plaintiff.
 8           10.    The injuries and damages, if any, sustained by Plaintiff at the time or times
 9     and place or places alleged in the operative Complaint were a direct and proximate result
10     of the acts, omissions, or negligence of third parties not within the knowledge or control
11     of the County, and were sustained, if at all, without any negligence on the part of this the
12     County.
13           11.    The County has never taken any action with a conscious disregard of
14     Plaintiff’s rights, and has not engaged in any conduct with respect to Plaintiff which would
15     constitute oppression, fraud or malice, nor has the County ratified or approved any such
16     act or acts of others.
17           12. The claims asserted herein are patently meritless and frivolous, entitling the
18     County to attorneys’ fees pursuant to 42 U.S.C. Section 1988.
19           13.    The Plaintiff failed to mitigate damages.
20           14.    The County is immune from any damages otherwise awardable pursuant to
21     section 3294 of the Civil Code or any other damages imposed primarily for the sake of
22     example or by way of punishing the County pursuant to Government Code section 818.
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             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
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 1          WHEREFORE, the County prays as follows:
 2          (1)   That Plaintiff takes nothing by reason of her Complaint on file herein;
 3          (2)   That the Complaint be dismissed;
 4          (3)   For costs of suit incurred herein, including attorneys’ fees; and
 5          (4)   For such other and further relief as the Court deems just and proper.
 6     DATED: July 1, 2020                  Respectfully submitted,
 7                                          MICHELLE D. BLAKEMORE
                                            County Counsel
 8

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10
                                            /s/ Laurel A. Hoehn
                                            LAUREL A. HOEHN
11                                          Deputy County Counsel
                                            Attorneys for Defendant
12
                                            County of San Bernardino
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 1                                DEMAND FOR JURY TRIAL
 2           Pursuant to Federal Rules of Civil Procedure Rule 38 and Local Rule 38,
 3     Defendants demand a trial by jury.
 4     DATED: July 1, 2020                  Respectfully submitted,
 5                                          MICHELLE D. BLAKEMORE
                                            County Counsel
 6

 7
                                            /s/ Laurel A. Hoehn
 8                                          LAUREL A. HOEHN
 9
                                            Deputy County Counsel
                                            Attorneys for Defendant
10                                          County of San Bernardino
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 1                                       PROOF OF SERVICE
 2
              I am employed in the County of San Bernardino, State of California. I am a citizen
 3     of the United States, employed in the County of San Bernardino, State of California, over
 4
       the age of 18 years and not a party to nor interested in the within action. My business address
       is 385 North Arrowhead Avenue, Fourth Floor, San Bernardino, CA 92415-0140.
 5

 6
           On July 1, 2020, I served the following documents (specify): COUNTY OF SAN
       BERNARDINO’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR
 7
       JURY TRIAL

 8           I served the documents on the persons below, as follows:
 9
        Sharon J. Brunner, Esq.                        James S. Terrell, Esq.
10      Law Office of Sharon J. Brunner                Law Office of James S. Terrell
        14393 Park Avenue, Suite 100                   15411 Anacapa Road
11
        Victorville, CA 92392                          Victorville, CA 92392
12      T: 760-243-9997                                T: 760-951-5850
        F: 760-843-8155                                F: 760-952-1085
13
        Attorney for Plaintiff                         Attorney for Plaintiff
14
             The documents were served by the following means:
15

16     X      By United States Mail. I enclosed the documents in a sealed envelope or package
       addressed to the persons at the addresses listed above and placed the envelope for collection
17
       and mailing, following our ordinary business practices. I am readily familiar with this
18     business’s practice for collecting and processing correspondence for mailing. On the same
       day that correspondence is placed for collection and mailing, it is deposited in the ordinary
19
       course of business with the United States Postal Service, in San Bernardino, California, in a
20     sealed envelope with postage fully prepaid.
21
             I am a resident or employed in the county where the mailing occurred. The
22     envelope or package was placed in the mail at San Bernardino, California.
23
              I declare under penalty of perjury under the laws of the United States of America,
24     that the above is true and correct.
25
       DATED: July 1, 2020                             /s/ Alejandra Ramirez
26                                                     ALEJANDRA RAMIREZ, Declarant
27

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                                            22
             COUNTY’S ANSWER TO PLAINTIFF’S COMPLAINT; DEMAND FOR JURY TRIAL
